Case 9:23-cr-80078-AHS Document 24 Entered on FLSD Docket 09/20/2023 Page 1 of 5




                             UNITED STATES DISTRICT CO URT
                             SO UTH ERN DISTRICT O F FL ORIDA

                         CASE N O. 23-80078-CR-SlN GH A L/M cCM E

   UNITED STATES O F A M ER ICA

   VS.

   DEREK LEE K NO W LES,




                      FACTUAL BASIS IN SUPPORT OF GUILTY PLEX
                                                  !
          TheUnited StatesofAmericaand DefendantDEREK LEE KNOWLES (r efendanf')
   agree that had this case proceeded to trial,the United States would have proven the follow ing

   elem ents and facts beyond a reasonable doubtas to Counts 1 and 2 ofthe lndictm ent,charging

   DefendantwithPossessionwithIntenttoDistributeaControlledSubstance(Count1),inviolation
                                                  !
   ofTitle21,United StatesCodeSections841(a)(1)and(b)(l)(C)andPossessionofaFirearm in
   Furtherance of a Drug Trafficking Crim e,in violation ofTitle 18,United States Code,Section

   924(c)(1)(A)(i)(Count2).
                                             Elem ents

                                             C ount1

          First:        Defendantknowingly possessed N ,N -D im ethylpentylone;

          Second:       Defendantintended to distributeN ,N -Dim ethylpentylone,a Schedule 1
                        controlled substance.

                                              Count2

          First-         theD efendantcom m itted the drug-trafficking crim e charged in Count 1of
                         the indictm ent;and

          Second:        theD efendantknow ingly possessed afirearm in furtheranceofthatcrim e,
                         ascharged in the indictm ent.
Case 9:23-cr-80078-AHS Document 24 Entered on FLSD Docket 09/20/2023 Page 2 of 5




                                               Facts

             1.   On Decem ber 30,2022,the D elray Beach Police Departm ent executed a search

   w arrantatKN OW LES'residence. The search w arrantw as obtained based on law enforcem ent

   receiving inform ation that narcotic sales were com ing from the residence. Therefore, 1aw

   enforcem ent conducted two controlled buys of narcotics from KN O W LES, which led to the

   issuanceofa search w arrant.

                  lm m ediately prior to executing the search w arrant, law enforcem ent ofticers

   escortedKNOWLESandothersoutsidetheresidenceandsearchedKNOWLES. Officerslocated
   a containerw ith a red cap containing 3 gram s ofsuspected crack cocaine. The suspected crack

   cocaine field tested positive forcocaine.

                  Thereafter,priorto searching theresidence,law enforcementadvisedKN OW LES
   of hisM iranda rights. PostM iranda,KNO W LES advised ofticers thathe uses the screened in

   frontporch ofthe residence to sleep and keeps his belongings in thatarea. KN O W LES further

   adm itted that he had belongings in the back room of the residence. W hen law enforcem ent

   questioned KN O W LES asto Fhetherthere were any illegaldrugsorfirearm s in the residence that

   law enforcem entshould be aware of priorto the search,KN OW LES adm itted there were drugs,

   including ûtcaps''on the frontporch ofthe residence. KN O W LES adm itted thathe sellsnarcotics

   to provide forhimselfand his children. He does itto tGgetby''because he has Glnojob.''
   KN O W LES denied know ledge offirearm s.

         .4.      W hile searching the foyerarea ofthe residence,officers located a black backpack

   hanging from an electric bicycle containing a firearm . Officers have prior know ledge of

   KNO W LES riding a sim ilar black electric bicycle from prior surveillance. The backpack

   included a black zippered pouch containing capsulesofa gray powdery substance,a black cylinder
                                                  2
Case 9:23-cr-80078-AHS Document 24 Entered on FLSD Docket 09/20/2023 Page 3 of 5




   containerwithsuspected marijuana,andaclearplasticbagcontaining suspected crack cocaine.
   Officers also located a black sem i-autom atic .380 caliber Keltec pistol w ith one round in the

   cham ber and one round in the m agazine ofthe firearm inside the sam e backpack. N othing else

   w as in the backpack otherthan a dish c10th.KNO W LES'Florida identification card was on the

   table located rightnextto the electric bicycle. The table had a w alletinside the drawerw ith a

   card on itconG ining KN OW LES'nam e. A body cam era show sthe firearm in the backpack.

                 Upon locating the item s, law enforcem ent followed up w ith KN OW LES,

   questioning whetherthe electric bicycle and backpack belonged to him . KN OW LES nodded his

   headyesto the questions. KN OW LES furtheradm ittedthenarcoticsand firearm in thebackpack

   belonged to him. KNOW LES statedhe gottheGrearm from ajunkie forsomedope,and he
   possessesitbecause ûtitis acold world.'' He stated he isnotgoing around shooting people;he is

   justtryingtomakealiving.
                 Law enforcementthen continued theirsearch ofthe residence,including a search

   ofthefrontporch. In a black box,ofticerslocated clearbagscontaining atan powdery substance,

   a brow n pow dery substance,a whitepow dery substance,and a bluepow dery substance. Further,

   officerscollected num erous,em pty clearcapsules,syringes,and clearbags. Thesuspected heroin

   and fentanylfield tested positive forfentanyl.

          7.     KN OW LES wasthen broughttotheD BPD holding facility. KN OW LES adm itted

   theblack box washis,and when asked aboutthegray and blue pow ders,he stated they wereElcut''

   Further,KN OW LES consented to providing aDN A sam ple.

                 Law enforcem entreceived the DN A results from DNA Labs lnternational,which

   concluded thatKN O W LES'S DN A is on the firearm . Specifically,the DN A profile obtained

   from the sight swabs indicated a m ixture of at least two individuals w ith at least one m ale
                                                    3
Case 9:23-cr-80078-AHS Document 24 Entered on FLSD Docket 09/20/2023 Page 4 of 5




   contributor. K N OW LES could notbe ruled outasa possible contributorto theDN A profile. lt

   is EGapproxim ately 1.3 billion tim es m ore probable if the sam ple originated from Derek Lee

   Know lesand one unknown person than ifitoriginated from tw o unknown persons. Thisanalysis

   provides very strong supportforthe proposition thatD erek Lee K now les is a contributor ....''

   Further,the profile obtained from the grip swabs is ûtapproxim ately 8.7 quadrillion tim es m ore

   probable ifthe sam ple originated from Derek Lee Know les and two unknow n persons than if it

   originated from three unknow n persons.'' The DN A profile obtained from the trigger sw absKis

   approxim ately 300 m illion tim esm ore probable ifthe sam pleoriginated from Derek Lee Knowles '

   and three unknow n persons ....''

          9.     Additionally, the Palm B each County Sheriff's Oftice Forensic Sciences and

   Technology Facility CPBSO Lab'')tested thethree bagscontaining the tan,brown,and blue
   pow der substances. The tan pow der w as confirm ed to be N ,N -DIM ETH YLPEN TYLON E

   (SubstitutedCathinone),withanetweightpf28.2580grams. ThePBSO Labconcludedthatthe
   brownpowderwascaffeine(tentative). Finally,thePBSO Labconcludedthatthebagcontaining
   the blue stain,w asalso N ,N -D IM ETHYLPEN TY LON E w ith a netw eightof3.l054 gram s.

          10.    The Drug Enforcem entA dm inistration tested 12 capsules found in the backpack.

   Fentanylw as identified in 9 capsulesand N ,N -Dim ethylpentylonew asalso identified in 4 ofthe
    Case 9:23-cr-80078-AHS Document 24 Entered on FLSD Docket 09/20/2023 Page 5 of 5
#   .   s




        9 capsules. The netweightofthe capsulesw as .82 gram s.

                11.   A lleventshaving occurred in the Southern D istrictofFlorida.


                                                  M ARKENY LAPOINTE
                                                  UNITED STATES ATTORNEY




            Date: @ Zô Z                           By:                       '
                                                      SHA      O'SHEA DARSCH
                                                      ASSISTANT UNITED STATES ATTORNEY




            Date:6 :1A-p                           sy,JAN SM ITH
                                                                    -
                                                      ASSISTANT FEDEM L PUBLIC DEFENDER




            Date:q & p:                            sy,
                                                      D REK LEE KNOW LES
                                                      DEFENDANT




                                                      5
